                     Case 4:11-cr-00290-LPR Document 541 Filed 05/06/14 Page 1 of 4
A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                    UNITED STATES DISTRICT COURT                                                              MAY -6 2014
                                                      Eastern District of Arkansas                             JAMES
                                                                                                               By:_-b'~--6'-11'--~~~
         UNITED STATES OF AMERICA                                          Judgment in a Criminal Case
                             v.                                            (For Revocation of Probation or Supervised Release)


                ERNEST RICHARD                                             Case No.           4:11CR00290-05 JLH
                                                                           USMNo.             26702-009
                                                                                                        Kim Driggers
                                                                                                      Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)        ...:G:::.;e::::n~e::.;ra:::l'----------- of the term of supervision.
D was found in violation of condition(s)              - - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                                   Violation Ended
General                      Violation of federal, state, or local law                                             September 8, 2013




       The defendant is sentenced as provided in pages 2 through _ _4..:....__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notifv the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 9742                                                      May 6, 2014

Defendant's Year of Birth:         1985

City and State of Defendant's Residence:                                                                Signature of Judge
                   Salem Arkansas
                                                                                   I. J,eon Holmes, United States District Judge
                                                                                                     Name and Title of Judge

                                                                                                         May 6, 2014
                                                                                                               Date
                       Case 4:11-cr-00290-LPR Document 541 Filed 05/06/14 Page 2 of 4
AO 2450       (Rev. 09/11) Judgment in a Criminal Case for Revocations
              Sheet 2- Imprisonment

                                                                                               Judgment- Page _   _...2_ of   4
DEFENDANT:                     ERNEST RICHARD
CASE NUMBER:                   4:11 CR00290-05 JLH


                                                                 IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:

SIX (6) MONTHS to run consecutive to the state term imposed in Fulton County, Arkansas,
Circuit Court

   X The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends defendant participate in nonresidential substance abuse treatment during
       incarceration. The Court further recommends placement in the facility nearest Fulton County,
       Arkansas, to allow defendant to remain close to his family.

   X   The defendant is remanded to the custody of the United States Marshal.

   0   The defendant shall surrender to the United States Marshal for this district:
          0    at    --------- 0                         a.m.      0     p.m.    on
          0    as notified by the United States Marshal.

   0   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0    before 2 p.m. on
          0    as notified by the United States Marshal.
          0    as notified by the Probation or Pretrial Services Office.

                                                                         RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                       to

at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL



                                                                                By ----------------~~------
                                                                                        DEPUTY UNITED STATES MARSHAL
                     Case 4:11-cr-00290-LPR Document 541 Filed 05/06/14 Page 3 of 4
AO 245D     (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 3 - Supervised Release
                                                                                              Judgment-Page _3,..._ o
DEFENDANT:                 ERNEST RICHARD
CASE NUMBER:               4:11CR00290-05 JLH
                                                           SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a

                                                                TWO (2) YEARS


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug
tests thereafter as determined by the court.
0     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, if applicable.)
0     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
0     The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
0     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
      or is a student, as directed by the probation officer. (Check, if applicable.)
0     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION

1)        the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)        the. defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
          offtcer;
4)        the defendant shall support his or her dependents and meet other family responsibilities;
5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training,
          or other acceptable reasons;
6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
          convicted of a felony, unless granted permtssion to do so by the probation officer;
10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
          confiscation of any contraband observed in plain view of the probation officer;
11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
          enforcement officer;
12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
          without the permission of the court; and
13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
          defendant's criminal record or personal history or characteristics ana shall permit the probation officer to maK:e such
          notifications and to confirm the defendant's compliance with such notification requirement.
                    Case 4:11-cr-00290-LPR Document 541 Filed 05/06/14 Page 4 of 4
AO 2450    (Rev. 09/11) Judgment in a Criminal Case for Revocations
           Sheet 3B - Supervised Release
                                                                                                Judgment-Page _ _
                                                                                                                4 _ of            4
DEFENDANT:                ERNEST RICHARD
CASE NUMBER:              4: 11 CR00290-05 JLH

                              ADDITIONAL STANDARD CONDITIONS OF SUPERVISION

14) Th~ fir~t ~ix (6) months of supervised release to be served at a residential reentry center, to allow defendant to focus on gaining
and mamtammg employment.
15) All general and standard conditions previously imposed remain in full force and effect.
16) The defendant must participate under the guidance and supervision of the U.S. Probation Office in a substance abuse treatment
program which may include testing, outpatient counseling, ana residential treatment. The defendant must abstain from the use of
alcohol throughout the course of treatment.
17) The defendant must participate in mental health counseling under the guidance and supervision of the U.S. Probation Office
and contribute to the costs based on his ability to pay.
